                     Case 2:23-bk-11773-VZ                    Doc 1 Filed 03/24/23 Entered 03/24/23 18:19:49                                     Desc
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           Fill in this information to identify your rasc’

           United States Bankruptcy Court for the:

       CENTRAL DISTRICT OF CALIFORNIA

       Case number       (tknown)                                                     Chapter      11
                                                                                                                                   D Check  if this an
                                                                                                                                       amended filing




      Official Form 201
      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                06/22
      If more space Is needed,      attach a separate sheet to this   form. On the top of any addItional pages, write the debtors name and the case number (If
   known). For more informatIon, a separate document, instructions for Bankruptcy Forms for Non-individuals, is available.


      1.      Debtor’s name                   Hlqhland Cargo Inc.

      2.      All other names debtor
              used in the last 8 years
              include any assumed             DBA Arco AMPM
              names, trade names end
              doing business as names

      3.      Debtor’s federal
              Employer Identification       XX-XXXXXXX
              Number (EIN)


  4.         Debtor’s address               Principal place of business                                   Mailing address, if different from principal place of
                                                                                                          business
                                            11237 Parkmead Street                                         12868 Claremore Street
                                                  ._p,c.Q!L0______                                        VictorvCA 92392
                                           Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                           Los An      ies___________                                    Location of principal assets, It different from principal
                                           County                                                        place ol business
                                                                                                         1990 Oceanside Blvd. Oceanside, CA 92054
                                                                                                         Number, Street, City, State & ZIP Code

 6.          Debtor’s website (URL)


 6.         Type of debtor                m Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          D Partnership (excluding LLP)
                                          0 Other. Specify:




Official Form 201                                 Voluntary Petition for Non-individuals Filing for Bankruptcy
                                                                                                                                                             page 1
                                                                                                                                             -   .




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      Debtor         Highland Cargo Inc.                                                                                   Case number   (f known)
                     Name


      7.     Describe debtors business           A. Chock one:
                                                 ED    health Care Business (as defined in 11 USC.            §   10l(27A))
                                                 ED    Single Asset Real Estate (as defined in 11 U.S.C.          §   101(516))
                                                 C     Railroad (a defined in 11 U.S.C.   §   101(44))
                                                 C     Stockbroker (as defined in 11 U.S.C.    §   101(53A))
                                                 C     Commodity Broker (as defined in 11 U.S.C.         §   101(6))
                                                 D     Clearing Bank (as defined in 11 U.S.C.      §   781(3))
                                                 S    None of the above

                                                 B. Check all that apply
                                                 C Tax-exempt entity (as described in 26 U.S.C. §501)
                                                 ED Investment company, including hedge fund or pooled investment vehicle (as defined                    in 15 U.S.C. §80a-3)
                                                 ED Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                              C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                 http:llvw.uscourts.gov/four-diqit-national-aSSOCiation-naiCS-COdeS.



     8.     Under which chapter of the        Check one:
            Bankruptcy Code is the
            debtor filing?                    0       Cha ter 7

           A debtor who Is a small            C       Chapter 9
           business debtor’ must check
           the first sub-box A debtor as
                                              •       Chapter 11. Check all that apply
           defined in § 1182(1) who                                    ED   The debtor is a small business debtor as defined in 11 U.S.C § 101(510), and its aggregate
           elects to proceed under                                          noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
           subchapter V of chapter 11                                       $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
           (whether or not the debtor is a                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
           “small business debtor’) must                                    exist, follow the procedure intl U.S.C. § 1116(1)(B).
           check the second sub-box.
                                                                       S                                               .


                                                                            The debtor is a debtor as defined in 11 U.S C. § 1182(1), its aggregate noncontingent liquidated
                                                                                                                                                     .




                                                                            debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and It chooses to
                                                                            proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                            balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                            any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(6).
                                                                      C     A plan is being filed with this petition.
                                                                      ED    Acceptances of the plan were solicited pcepetition from one or more classes of creditors, in
                                                                            accordance with 11 U.S.C. § 1126(b).
                                                                      C     The debtor is required to file periodic reports (for example, 1 OK and 100) with the Securities and
                                                                            Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                            Attachment to Voluntary- Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                            (Official Form 201A) with this form.
                                                                      C     The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2
                                             C    Chapter 12

9.        Were prior bankruptcy
          cases filed by or agaInst
                                             a No
          the debtor within the last 8           Yes.
          years?
          If more than 2 cases, attach a
          separate   list.                               District   —__________________
                                                                                              ____     When                                      Case number
                                                         District                                      When                                      Case number




Official Form 201                                  Voluntary Petition for Non-indIvIduals FilIng for Bankruptcy
                                                                                                                                                                                page 2
               Case 2:23-bk-11773-VZ                                   Doc 1 Filed 03/24/23 Entered 03/24/23 18:19:49                                                  Desc
                                                                       Main Document    Page 3 of 13
  Debtor                                                                                                                  Case number (it known)
              Hiahiand Carao Inc.

  10. Are any bankruptcy cases                U No
      pending or being filed by a             •
      business partner or an
      affiliate of the debtor?




        List all cases. If more than 1.                                                                                                                                    Affiliate of the
        attach a separate list                                Debtor     CA Techies Inc.                                                       Relationship                Debtor
                                                                         Central District of
                                                          District       California                  When         3/24123                      Case number, if known


 11. Why is the case flied In             Check all that apply.
     this district?                                                                                                            .   .


                                          I       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                  preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                          U       A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.    Doesthedebtorownor                • No
                                                     Answer below for each property that needs immediate attention Attach additional sheets if needed
                                              Yes.
        property that needs
        immediate attention?                         Why does the property need Immediate attention? (Check all that apply.)
                                                      U It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                              What is the hazard?
                                                     U It needs to be physically secured or protected from the weather.
                                                     U It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                              livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                     U Other
                                                     Where Is the property?
                                                                                            Number, Street, City, State & ZIP Code
                                                     is the property Insured?
                                                     C No
                                                     U Yes.            Insurance agency
                                                                       Contact name
                                                                       Phone


            Statistical and administrative information

13. Debtor’s estimation of            .           Check one:
    available funds
                                                  I Funds will be available for distribution to unsecured creditors.
                                                  U After any administrative expenses are paid, no funds will be available to unsecured creditors.

14.    EstImated number of
       creditors
                                      •                                                        C 1,000-5,000                                       C 25,001-50,000
                                      C 50-99                                                  U 5001-10,000                                       U 50,001-100,000
                                      U 100-199                                                C 10,001-25,000                                     U More thanlOo,000
                                      C 200-999

18. Estimated Assets                 U $0- $50,000                                             • $1,000,001   -   $10 million                      U $500,000,001 $1 billion
                                                                                                                                                                   .


                                     C $50,001 $100,000
                                                      -
                                                                                               C $10,000,001 $50 million
                                                                                                                  -
                                                                                                                                                   C $1,000,000,001 $10 billion
                                     C $100,001 $500,000  -
                                                                                               C $50,000,001 $100 million
                                                                                                                  -
                                                                                                                                                   C sio,000,ooo,0o1 $50 billion
                                                                                                                                                                       -



                                     C $500,001 $1 million-
                                                                                               C $100,000,001 $500 million
                                                                                                                      -
                                                                                                                                                   U More than $50 billion


Official Form 201                                  Voluntary Petition for Non-individuals Filing for Bankruptcy                                                                 page 3
                                                     Demo,      Highland Cargo Inc.                                                                  Case number ljkno,..n)
                                                                Name
                                                     16.   Estimated Iiablltles           $0 $50,000
                                                                                             -
                                                                                                                                  • $1,000,001   $10 million                  O $500,000,001 $1 billion
                                                                                                                                                                                              -
                                                                                           $50,001 $100,000
                                                                                                   -
                                                                                                                                  0 $10,000,001 $50 million                   O $1,000,000,001 -$10 billion
                                                                                      o   sioo.orn s500.000
                                                                                                                                                 -
                                                                                                                                  o $50,000,001 $100 mithon                   o $10,000,000,001 $50 billion
Desc




                                                                                                       -
                                                                                      O
                                                                                                                                                 -
                                                                                                                                                                                                  -
                                                                                          $500,001 -$1 million
                                                                                                                                  o $100,000,001 -$500 nnllin                 o More than $50 blion
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                                                                                           Voluntary Petition for Non-Individuals Filing
                                                                                                                                         for Bankruptcy
                                                                                                                                                                                                      page 4
                                                        ________________
                                                                                                                ______                ________-     _________




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   Debtor     Highland Cargo Inc.                                                                         Case number   (Iknow)
             Name


             Request for Relief, Declaration, and Signatures                                                               —      -




   WARNING     --   Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500000 or
                    imprisonment for up to 20 years, or both. 18 U.S.C. § 152, 1341 1519, and 3571.

   17. DeclaratIon and signature
       of authorized                    The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition
       representative of debtor
                                        I have been authorized to file this petition on behalf of the debtor.

                                        I have examined the information in this petition and have a reasonable belief that the information is true and correct

                                        I declare under penalty of perjury that the foregoing is true and correct.

                                        Executed   on




                                                         MM/DD/YYYY


                                   x__________________                                                          Mandeep Singh
                                       Signature of authorized representative of debtor                         Printed name

                                       Title    President




  18. Signature of attorney


                                       Michael Jay Berger
                                       Printed name

                                       Law Offices of Michael Jay Berger
                                       Firm name

                                      9454 Wilshire Boulevard, 6th floor
                                      Beverly Hills, CA 90212
                                      Number, Street, City, State & ZIP Code


                                      Contact phone      (310) 271-6223                Email address      mIcflaeI.bergerbankruptcypower.com

                                      100291 CA
                                      Bar number and State




Official Form 201                              Voluntary Petition for Nonlndlviduais Filing for Bankruptcy                                                      page 5
                                                                                      _____________________________

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     Debtor    Highland Cargo Inc.                                                               Case number   (ølknown)
               Name         -




          List all cases. If more than 1
                                                                                                                                              Affiliate of the
          attach a separate list                  Debtor     CA Techies Inc.                                          Relationship            Debtor
                                                             Central District of
                                                  District   California               When     3/24123                Case number, if known


         List all cases. If more than 1,
                                                                                                                                              Affiliate of the
         attach a separate list                  Debtor      ASLM Gas Inc.                                            Relationship            Debtor
                                                             Central District of
                                                 District    California               When     3/24123                Case number, if known


         List all cases. If more than 1,
                                                                                                                                              Affiliate of the
         attach a separate list                  Debtor      ASLM Investments Inc.                                    Relationship            Debtor
                                                             Central District of
                                                 District    California            When        3/24/23                Case number, if known




Official Form 201                          Voluntary Petition for Non-individuals Filing for Bankruptcy
                                                                                                                                                 pages
                                   _______________________________

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     Debtor name JHighland Cargo Inc.           -




     United States Bankruptcy Court for the:        CENTRAL DISTRICT OF                                                                     D Check if this is an
                                                    CALIFORNIA
     Case number (if known):                                                                                                                     amended filing




    Official Form 204
   Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
   Are Not Insiders
   A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
   debtor disputes. Do not include claims by any person or entity who is an Insider, as defined in 11 U.S.C. § 101(31). Also, do not
   include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
   among the holders of the 20 largest unsecured claims.

    Name ot creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
    complete mailing address, and email address of   (for example, trade            I. contingent,     if the claim is fully unsecured, till in only unsecured claim amount. If
    Including zip code        creditor contact       debts, bank loans,            unhiquldated or     claim is partIally secured, till In total claim amount and deduction for
                                                     plofes8lonal services             disputed        value of collateral or setoff to calculate unsecured claim
                         .                           and government                                    Total claim if             Deduction for value        Unsecured claim
                                                     contracts)                                        partially secured          of collateral or a.toff
   2K Commercial                                        1990 Oceanside                                         $70,000.00                        $0.00              $70,000.00
   Attn: Aly Phillips                                   Blvd.
   11107 Roselle Street                                 Oceanside, CA
  San Diego, CA                                         92054
  92121
  California State                                      last 3 quarters                                                                                           $100,000.00
  Board of Equalizat
  P 0 Box 94289
  Sacramento, CA
  94279
  Dimond Stone                                          Merchant cash                                                                                          $1,200,000.00
  Capital                                               advance
  663 East Crescemt
  Ave.
  Ramsey, NJ 07446
  Franchise Tax                                         Last two                                                                                                            $000
  Board                                                 quearters dues
  Bankruptcy Section
  MS: A-340
 P0 Box 2952
 Sacramento, CA
 95812.2952
 Internal Revenue                                      Unpaid Taxes                                                                                              sioo,ooo.oo
 Services
 P 0 Box 7346
 Philadelphia, PA
 191 01 .7346
 Mulligan Funding,                                     Merchant cash                                                                                             $150,000.00
 LLC                                                   advance
 4715 Viewrldge
 Ave., Ste 100
 San Diego, CA

 Newco Capital
 Group
                                                      Merchant Cash
                                                      Advane
                                                                                                                                                               iooo.oo
 90 Broad St Ste 903
 New York, NY 10004
                                                                                                   I
Official form 204                        Chapter 11 or Chapter 9 Cases: List of Creditors Mo Have the 20 Largest Unsecured claims
                                                                                                                                                                   page 1
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       Debtor       Hiahiand Carao Inc.                                                                       Case number (it known)
                    Name


                                                                                        Indicate If claim    Amount ol claim
                                                                                         Is contingent,      If the claim is fully unsacured, fill In only unsecured claim amount. If
                                                                                                     d, or   claIm Is parlialy secured fill In total claim amount arid deductIon ror
                                                                                                             value of collateral or setoff to calculate unsecured claim.
                                                                                                             Total claim, II            Deduction for value    -
                                                                                                                                                                   Unsecured claIm      -




                                                                                                             partially secured          of collat•ril or getott
      Payality Payroll                                            Ii company
      Company                                                                                                                                                             $20,000.00
                                                            advanced the
      2152 E. Copper Ave.                                   payroll, but
      #105                                                  Debtor’s account
      Fresno, CA 93730                                      was frozen
                                                            unbeknowns to
                                                            the Debtor
      Samson Horus                                          Debtors assets                                         $450,000.00                        $0.00            $450,000.00
      90 John Street
     New York, NY 10038
     U.S. Small Business
                                                                                                                   $225,000.00                        $0.00            $225,000.00
     Administration
     do Elan S. Levey
     300 N. Los Angeles
     Street
     Fed. Bldg. Rm. 7516
     Los Angeles, CA
     90012




Official form 204                         Chapter 11 or Chapler 9 Cases: List of Creditors lMio Have the
                                                                                                         20 Largest Unsecured claims                                 page 2
                                                      _______                                                                       _______
                                                                                                                                                            _____




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                                                            United States Bankruptcy Court
                                                                  Central District of California
       In re     Highland Cargo Inc.                                                                                  Case No.
                                                                                     Debtor(s)                        Chapter         11

                                                       LIST OF EQUITY SECURITY HOLDERS
                 is the list of the Debtors equity security holders which is prepared in accordance with rule lOO7(a)(3)
                                                                                                                         for filing in this Chapter II Case
     Following
     Name and last known address or place of                     Security Class Number of Securities                             Kind of Interest
     business of holder
     Mandeep Singh                                                                                                               100%
     1990 Oceanside Blvd.
     Oceanside, CA 92054


    DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION
                                                                  OR PARTNERSHIP
            I, Mandeep Singh, as the President of the corporation named as the debtor in this case,
                                                                                                      declare under penalty of
   perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct
                                                                                                          to the best of my
   information and belief.



    Date                                                                    Signature              /t /                  C7’
                                                                                           Mandeep Singh

                      Penalty for making ala/se slalerneng of concealing property Finc
                                                                                       of up to $500,000 or imprisonment for up to S years or both
                                                                         8 U.S.C    152 and 3571.




Sheet I of I in List of Equity Security Holders
                                                                 _______________
                                                               _______
                                                                    _____
                                                                       ___________
                                                                               ___________
                                                                                   __
                                                                                      _______
                                                                                            __

                                                                                                                                            ______
                                                                                                                                                              ______




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                                             STATEMENT OF RELATED CASES
                                        INFORMATION REQUIRED BY LBR 1015-2
                 UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
       1. A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously
                                                                                                                     been filed by or
          against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the
                                                                                                                          debtor, any
          copartnership or joint venture of which debtor is or formerly was a general or limited partner, or member,
                                                                                                                               or any
          corporation of which the debtor is a director, officer, or person in control, as follows: (Set forth the
                                                                                                                   complete number
          and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and
                                                                                                                      court to whom
          assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any
                                                                                                                        real property
          included in Schedule A/B that was filed with any such prior proceeding(s).)
       CA Tochles Inc.
       ASLM Gas Inc.
       ASLM
               Investments
                             Inc.




    2.    (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy
                                                                                                                                  Reform
          Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor,
                                                                                                             or a general partner in the
          debtor, a relative of the general partner, general partner of, or person in control of the debtor,
                                                                                                                partnership in which the
          debtor is a general partner, general partner of the debtor, or person in control of the debtor
                                                                                                               as follows: (Set forth the
          complete number and title of each such prior proceeding, date filed, nature of the proceeding, the
          and court to whom assigned, whether still pending and, if not, the disposition thereof.                     Bankruptcy Judge
                                                                                                       If none, so indicate. Also, list
          any real property included in Schedule A/B that was filed with any such prior proceeding(s
                                                                                                         ).)
       None

   3.     (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the
                                                                                                   Bankruptcy Reform Act of 1978 has
          previously been filed by or against the debtor, or any of its affiliates or subsidiaries,
                                                                                                      a director of the debtor, an officer
         of the debtor, a person in control of the debtor, a partnership in which the
                                                                                           debtor is general partner, a general partner
         of the debtor, a relative of the general partner, director, officer, or person in
                                                                                            control of the debtor, or any persons, firms
         or corporations owning 20% or more of its voting stock as follows: (Set forth
                                                                                               the complete number and title of each
         such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge
                                                                                                and court to whom assigned, whether
         still pending, and if not, the disposition thereof. If none, so indicate. Also, list
                                                                                               any real property included in Schedule
         A/B that was filed with any such prior proceeding(s).)
   None




  4.      (If petitioner is an individual) A petition under the Bankruptcy Reform
                                                                                   Act of 1978, including amendments thereof, has
         been filed by or against the debtor within the last 180 days: (Set forth
                                                                                   the complete number and title of each such prior
         proceeding, date filed, nature of proceeding, the Bankruptcy Judge
                                                                                       and court to whom assigned, whether still
         pending, and if not, the disposition thereof. If none, so indicate.
                                                                              Also, list any real property included in Schedule A/B
         that was filed with any such prior proceeding(s).)
  None




 I declare, under penalty of perjury, that the foregoing is true and
                                                                     correct.
  Executed at       Santa Fe SprIng8
                                                                                                                                        .              /
                                                                       ,   California.
  Date:               3/à4y72.                                                                           Signature of Debtor 1



                                                                                                         Signature of Debtor 2




                    This form is mandatory. It has been approved for use in
                                                                            Ih United States Bankruptcy court for the Central District of California
October2018
                                                                           page i               F 1015-2.1 .STMT.RELATED.CASES
                                                                                                                  -

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      Attorney or Party Name, Address, Telephone & FAX Nos., FOR COURT USE ONLY
      State Bar No. & Email Address
      Michael Jay Berger
      9454 WIlshire Boulevard, 6th floor
      Beverly Hills, CA 90212
      (310) 271-6223 Fax: (310) 271-9805
      California State Bar Number: 100291 CA
      michaei.berger@bankruptcypower.com




     D Debtor(s) appearing without an attorney
          Attorney for Debtor


                                                         UNITED STATES BANKRUPTCY COURT
                                                           CENTRAL DISTRICT OF CALIFORNIA

    In re:
                Highland Cargo Inc.                                                    CASE NO.:
                                                                                       CHAPTER: 11




                                                                                                          VERIFICATION OF MASTER
                                                                                                         MAILING LIST OF CREDITORS

                                                                                                                       [LBR 1007-1(a)]

                                                                  Debtor(s).
 Pursuant to LBR 1007-1(a), the Debtor, or the Debtors attorne if
                                                                    y applicable, certifies under penalty of perjury that the
 master mailing list of creditors filed in this bankruptcy case, consis
                                                                        ting of 2 sheet(s) is complete, correct, and
 consistent with the Debtor’s schedules and I/we assume all
                                                                 responsibility for errors and omissions.                                              -




  Date:
                                                                                            Signature of Debtor 1
                                                                                                                                    ‘-y         L
  Date:
                                                                                               /)

 Date:
                                                                                             ignatu e of Attorn               r       tor (if applicable)




                   This form is opflonal. It has been approved for use in the united
                                                                                     States Bankruptcy Court for the Central District of California.       —
December 2015
                                                                                                    F 1007-1 .MAILING.LIST.VERIFICATION
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                         Highland Cargo Inc.
                         12868 Claremore Street
                         Victorville, CA 92392


                         Michael Jay Berger
                         Law Offices of Michael Jay Berger
                         9454 Wilshire Boulevard, 6th floor
                         Beverly Hills, CA 90212


                        2K Commercial
                        Attn: Aly Phillips
                        11107 Roselle Street
                        San Diego, CA 92121


                        Ariel Bouskila
                        80 Broad Street, Ste 3303
                        New York, NY 10004


                        California State Board of Equalizat
                        P 0 Box 94289
                        Sacramento, CA 94279


                        Dimond Stone Capital
                        663 East Crescemt Ave.
                        Ramsey, NJ 07446


                        Franchise Tax Board
                        Bankruptcy Section MS: A-340
                        P0 Box 2952
                        Sacramento, CA 95812-2952


                    Internal Revenue Services
                    P 0 Box 7346
                    Philadelphia, PA 19101—7346
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                         Law Office of Jason Gang,   PLLC
                         1245 Hewlett Plaza, #478
                         Hewlett, NY 11557


                         Mulligan Funding, LLC
                         4715 Viewridge Ave., Ste 100
                         San Diego, CA 92123


                        Newco Capital Group
                        90 Broad St Ste 903
                        New York, NY 10004


                        Payality Payroll Company
                        2152 E. Copper Ave. #105
                        Fresno, CA 93730


                        Samson Horus
                        90 John Street
                        New York, NY 10038


                        U.S. Small Business Admin
                        El Paso Loan Service Center
                        10737 Gateway West, Ste. 300
                        El Paso, TX 79935


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